Case 18-40777           Doc 40    Filed 09/17/19 Entered 09/17/19 13:14:21                   Main Document
                                               Pg 1 of 2


                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF MISSOURI

In Re:                                                                )
                                                                      )
David J. Rice, Debtor/Movant                                          )    Case No. 18-40777-705
                                                                      )
vs.                                                                   )    Chapter: 7
                                                                      )
Bayview Loan Servicing, LLC., Creditor/Respondent                     )

                          CREDITOR’S LIMITED OBJECTION TO MOTION TO SELL

         COMES NOW Bayview Loan Servicing, LLC, through its counsel, Wendee Elliott-Clement,

Daniel A. West, and Lisa C. Billman, of the firm of SouthLaw, P.C. and responds to the Motion to Sell

Property (doc 36) as follows:

         1.      Creditor notes the Motion to Sell references a number of exhibits, including an alleged

letter of consent from the Creditor, but fails to upload the exhibits with the Motion.

         2.      Creditor requests time to review the loan file and obtain a copy of the documents

referenced as Exhibits in the Trustee’s Motion. Generally, Creditor will only agree to allow a Property to

be sold if its lien attaches to the proceeds from the sale and its claim is paid in full.

         3.      Creditor will forward a payoff to Debtor’s Trustee upon request.

         WHEREFORE, Creditor, Bayview Loan Servicing, LLC, its subsidiaries, affiliates, predecessors in

interests, successors or assigns, requests this Court to enter the Trustee’s Motion to Sell, with the

condition that Creditor’s lien will be paid in full by the proceeds from sale of property.



SOUTHLAW, P.C.
_/s/ Lisa C. Billman                             _________
Steven L. Crouch, (MBE #37783; EDMO #2903; KSFd #70244)
Daniel A. West (MBE #48812; EDMO #98415; KSFd #70587)
Wendee Elliott-Clement (MBE #50311; KS #20523)
Lisa C. Billman (MBE #64535, KS #25177)
13160 Foster Suite 100
Overland Park, KS 66213-2660
(913) 663-7600
(913) 663-7899 Fax
moedbknotices@southlaw.com
ATTORNEYS FOR CREDITOR


File No. 210122
Case No: 18-40777-705
Case 18-40777           Doc 40    Filed 09/17/19 Entered 09/17/19 13:14:21              Main Document
                                               Pg 2 of 2


                                 CERTIFICATE OF MAILING/SERVICE


I certify that a true and correct copy of the foregoing document was filed electronically on September 17,
2019, with the United States Bankruptcy Court, and has been served on the parties in interest via email by
the Court’s CM/ECF System as list on the Court’s Electronic Mail Notice List.

I certify that a true and correct copy of the foregoing document was filed electronically with the United
States Bankruptcy Court, and has been served by Regular United States Mail Service, first class, postage
fully pre-paid, addressed to the parties listed below on September 17, 2019.



David J. Rice
2105 Foggy Bottom Drive
Florissant, MO 63031
DEBTOR


SOUTHLAW, P.C.
_/s/ Lisa C. Billman                       ____________
Steven L. Crouch, (MBE #37783; EDMO #2903; KSFd #70244)
Daniel A. West (MBE #48812; EDMO #98415; KSFd #70587)
Wendee Elliott-Clement (MBE #50311; KS #20523)
Lisa C. Billman (MBE #64535, KS #25177)
13160 Foster Suite 100
Overland Park, KS 66213-2660
(913) 663-7600
(913) 663-7899 Fax
moedbknotices@southlaw.com
ATTORNEYS FOR CREDITOR




File No. 210122
Case No: 18-40777-705
